         Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 1 of 12




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                 §        Chapter 11
                                                       §
CEC ENTERTAINMENT, INC., et al.,                       §        Case No. 20-33163 (MI)
                                                       §
                  Debtors.1                            §        (Jointly Administered)
                                                       §

    MOTION FOR ORDER AUTHORIZING DEBTORS TO ABATE RENT PAYMENTS
           AT STORES AFFECTED BY GOVERNMENT REGULATIONS

      A VIDEO/TELEPHONIC HEARING WILL BE CONDUCTED ON THIS
      MATTER ON AUGUST 24, 2020 AT 9:00AM (PREVAILING CENTRAL TIME).
      PARTIES WISHING TO PARTICIPATE TELEPHONICALLY MUST DIAL IN
      USING THE COURT’S TELECONFERENCE SYSTEM AT 832-917-1510 AND
      ENTERING CONFERENCE CODE 954554. PARTIES WHO ALSO WISH TO
      PARTICIPATE BY VIDEOCONFERENCE MAY DO SO BY USE OF AN
      INTERNET      CONNECTION,         USING      THE     WEBSITE
      GOTOMEET.ME/JUDGEISGUR       OR    THE   FREE    GOTOMEETING
      APPLICATION, SELECTING “JOIN MY MEETING,” AND ENTERING
      MEETING CODE “JudgeIsgur.”


      IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
      WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS
      PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST
      FILE YOUR RESPONSE WITH THE CLERK OF THE BANKRUPTCY COURT
      WITHIN TWENTY-ONE DAYS FROM THE DATE YOU WERE SERVED
      WITH THIS PLEADING. YOU MUST SERVE A COPY OF YOUR RESPONSE
      ON THE PERSON WHO SENT YOU THE NOTICE; OTHERWISE, THE
      COURT MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT THE
      RELIEF REQUESTED.




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are BHC Acquisition Corporation (0947); CEC Entertainment Concepts, L.P. (3011);
     CEC Entertainment Holdings, LLC (9147); CEC Entertainment, Inc. (5805); CEC Entertainment International,
     LLC (8177); CEC Entertainment Leasing Company (4517); CEC Leaseholder, LLC (N/A); CEC Leaseholder #2,
     LLC (N/A); Hospitality Distribution Incorporated (5502); Peter Piper Holdings, Inc. (6453); Peter Piper, Inc.
     (3407); Peter Piper Texas, LLC (6904); Peter Piper Mexico, LLC (1883); Queso Holdings Inc. (1569); SB
     Hospitality Corporation (4736); SPT Distribution Company (8656); and Texas PP Beverage, Inc. (6895). The
     Debtors’ corporate headquarters and service address is 1707 Market Place Boulevard #200, Irving, TX 75063.
        Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 2 of 12




                 CEC Entertainment, Inc. and its debtor affiliates in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors” or “CEC”), respectfully

state the matters set forth below in support of this motion (the “Motion”).

                             Preliminary Statement and Relief Requested

                 1.       The Debtors request the Court enter an order abating rent payments for

stores closed or otherwise limited in operations as a result of any governmental order or restriction

until such restriction or order has been lifted and to reflect the extent and duration of such forced

governmental closures or limitations. This requested relief is necessary to protect the Debtors’

contractual and common law rights under certain commercial real estate leases and to ensure their

ability to successfully reorganize in these chapter 11 cases, which is in the best interests of the

Debtors’ estates and all stakeholders.

                 2.       Like many businesses, the Debtors have experienced, and continue to face,

devastating financial impacts and continuing uncertainties arising from the COVID-19 global

pandemic, and their operations have been severely hindered as a result. Specifically, due to the

significant safety and health concerns arising from the unforeseen and unprecedented COVID-19

pandemic, the Debtors have been forced to close or otherwise limit the operations of numerous

stores. As of this Motion, there are 141 stores in 12 states affected by government “shelter in

place” mandates (the “Stores”).2 Despite their attempts to negotiate in good faith with the

Landlords3 regarding lease modifications, rent abatements, and concessions as part of the Debtors’




2
  A chart identifying the Stores currently at issue in this Motion—by store number, name, location, and landlord
counter-party (collectively, the “Landlords”)—is attached to this Motion as “Exhibit A” and fully incorporated
herein (the “Stores Tracker”). Due to the continuing uncertainty surrounding the COVID-19 pandemic and potential
resulting government regulations, the Stores Tracker may be further amended or supplemented to seek the same relief
as to additional stores, as necessary.
3
  The Landlords identified on the Stores Tracker do not include landlords in the relevant States who have reached
agreements with the Debtors in connection with their respective leases.


                                                        2
        Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 3 of 12




efforts to comply with governmental orders and ensure the health and safety of the Debtors’

employees and customers, the Landlords and the Debtors have not reached an agreement with

respect to the Stores.4

                  3.       The Debtors’ post-petition obligation to pay rent for the Stores should be

excused, in whole or in part, for at least three reasons: (a) by shutting down or otherwise

significantly limiting the Debtors’ business operations, the Government Regulations (defined

below) entirely frustrated the fundamental purpose of the Debtors’ leases; (b) the COVID-19

pandemic and related public health measures triggered certain force majeure provisions in the

Debtors’ leases which expressly relieve the Debtors of their rent obligations; and (c) the Court can

(and should) exercise its inherent, equitable powers to protect the Debtors from paying substantial

rent obligations in return for which they receive no—or a significantly limited—benefit.

Accordingly, the Debtors request the Court enter an order abating the Debtors’ rent payments at

the Stores from the date such Government Regulations went into effect until they are lifted. A

proposed form of order granting the relief requested in this Motion is attached as Exhibit B (the

“Proposed Order”).

                                               Brief Background

                  4.       On June 24, 2020 (the “Petition Date”), the Debtors commenced their

chapter 11 cases by filing voluntary petitions in this Court under chapter 11 of title 11 of the United

States Code (the “Bankruptcy Code”). The Debtors continue to operate their businesses, albeit

in a limited manner, and manage their properties as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. On July 13, 2020, the United States Trustee (the “U.S.



4
  As suggested by the Court at the August 3, 2020 hearing, and to confirm, the Debtors will engage in discussions with
the Landlords and the Creditors’ Committee (as defined below) in a good-faith effort to negotiate a commercial
solution with respect to the Stores.


                                                          3
        Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 4 of 12




Trustee”) appointed an official committee of unsecured creditors (the “Creditors’ Committee”)

in these chapter 11 cases pursuant to section 1102 of the Bankruptcy Code. No trustee or examiner

has been appointed in these chapter 11 cases. The Debtors’ chapter 11 cases are being jointly

administered for procedural purposes only pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Bankruptcy Rules

for the United States Bankruptcy Court for the Southern District of Texas (the “Local Rules”).

                 5.       The Debtors, together with their non-debtor affiliates, are a leading family

entertainment and dining company with a global network of dining, entertainment, and arcade

centers that are operated and franchised under the names “Chuck E. Cheese” and “Peter Piper

Pizza.” The venues deliver a kid-friendly atmosphere and feature an array of wholesome

entertainment offerings including arcade-style and skill-oriented games, rides, live entertainment

shows, and the opportunity for guests to win tickets and redeem prizes such as toys, plush dolls,

and branded merchandise.5 The Debtors generate revenue almost exclusively through on-site

entertainment experiences, merchandise sales, and food and beverage services.6

                 6.       The Debtors operate stores in commercial spaces governed by lease rental

agreements (the “Leases”) in numerous jurisdictions, including a large footprint in California. The

Stores at issue are located in California (56), New York (13), Michigan (14), New Jersey (12),

North Carolina (11), Washington (8), New Mexico (6), Colorado (8), Massachusetts (7),

Connecticut (3), Delaware (2), and Oregon (1) (collectively, the “States”), all of which have issued

governmental regulations, recommendations, or orders as a result of the COVID-19 crisis that



5
  Additional information regarding the Debtors’ businesses, capital structure, and the circumstances leading to the
commencement of these chapter 11 cases is set forth in the Declaration of James Howell in Support of Debtors’
Chapter 11 Petitions and First Day Relief (the “First Day Declaration”). Capitalized terms used but not otherwise
defined in this Motion shall have the meanings ascribed to such terms in the First Day Declaration.
6
  See First Day Declaration, ¶ 6.


                                                        4
        Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 5 of 12




impair economic activity in the States and directly affect the Stores’ operations (the “Government

Regulations”).7 As a direct result of the Government Regulations, the Debtors’ year-over-year

revenue has been entirely eliminated for Stores where all services, including carry out, is

prohibited.8 Even for Stores allowed to continue providing delivery and carryout services, such

revenue has been reduced by over 90%.9 Moreover, the Debtors’ experiential Stores operating on

a limited basis include dine-in restaurants, gaming arcades, and according to the interpretation of

certain regulatory bodies, “gaming establishments,” which are each treated differently and

inconsistently under the various Government Regulations. For example, where States allow dine-

in services at 50% capacity, those same States would also need to reopen arcade gaming to fully

restore the Debtors’ operations—yet in every jurisdiction where “shelter in place” orders have

been issued, dine-in services have been allowed to resume weeks before arcades have been.

                 7.       On March 16, 2020, and again significantly in advance of the hearing on

this Motion, the Debtors sent each of the Landlords notice of the substantial and indefinite

restrictions on the Debtors’ operations as a result of the Government Regulations (the “Notices”).




7
  As of the date of this Motion, the Government Regulations in effect for each of the States are as follows: CA
Statewide Public Health Officer Order, July 13, 2020; WA Proclamation No. 20-13 (Mar. 16, 2020) (as extended and
amended by Proclamation No. 20-25.7 (Jul. 24, 2020)); NJ Executive Order No. 158 (Jun. 29, 2020); NY Executive
Order No. 202.41 (Jun. 13, 2020); CT Executive Order No. 7D (as updated by No. 7ZZ on Jun. 16, 2020); MA
Executive Order No. 13 (as updated by No. 35 on Jun. 1, 2020); MI Executive Order No. 2020-110 (Jun. 1, 2020);
NC Executive Order No. 118 (Mar. 17, 2020) (as extended and amended by Executive Order Nos. 141, 147 (May 20,
2020, and Jun. 24, 2020 respectively)); NM Jul. 13, 2020 Public Health Order; CO Executive Order No. D 2020 17
(Mar. 25, 2020) (as extended and amended by Executive Order No. D 2020 123 (Jun. 30, 2020)); DE Nineteenth
Modification of the Declaration of a State of Emergency for the State of Delaware Due to a Public Health Threat (May
22, 2020); OR Executive Order No. 20-07 (Mar. 16, 2020) (as extended and amended by Executive Order No. 20-27
(Jun. 5, 2020)). New restrictions are being added, and re-openings cancelled, daily. See, e.g., AK – Jul. 31, 2020,
Municipality of Anchorage Proclamation of Emergency Order EO-15 “Four Week Reset,” available at
https://www.muni.org/covid-19/documents/eo-15_signed.pdf (last visited Aug. 1, 2020); S. Sutton, Northeast
governors were ready to reopen. The coronavirus had other plans., POLITICO, https://www.politico.com/states/new-
york/city-hall/story/2020/07/03/northeast-governors-were-ready-to-reopen-the-coronavirus-had-other-plans-
1296877 (Jul. 3, 2020 5:00AM EDT) (last visited Aug. 1, 2020).
8
  First Day Declaration, ¶ 23.
9
  Id.


                                                         5
       Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 6 of 12




In the Notices, the Debtors expressly reserved their rights under the Leases and applicable law,

including, without limitation, their right to abate and/or defer rent payments at the Stores.

                                            Jurisdiction

               8.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§ 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                         Rent Payments at the Stores Should be Abated

A.     Common Law Doctrines Support the Debtors’ Request for Rent Abatement

               9.      When an event or change of circumstances is outside of the realm of

possibilities and the parties could not foresee it occurring at the time the contract was entered into,

a party’s contractual obligations may be excused. Restatement (Second) of Contract § 265 (1981);

see also, e.g., Weyerhaeuser Real Estate Co. v. Stoneway Concrete, 96 Wash. 2d 558, 566 (Wash.

1981); Chase Precast Corp. v. John J. Paonessa Co., 409 Mass. 371, 375 (Mass. 1991). This

common law doctrine—the “frustration of purpose”—is recognized in the majority of states and

occurs when the “principal purpose” of the contract is “substantially frustrated without . . . fault

by the occurrence of an event the non-occurrence of which was a basic assumption on which the

contract was made,” rendering the remaining duties discharged unless otherwise provided for in

the contract. See Restatement (Second) of Contract § 265. This doctrine applies to leases. See,

e.g., Stratford v. Seattle Brewing, 94 Wash. 125, 126 (Sup. Ct. Wash. 1916); Baird v. Wendt

Enterprises, Inc., 248 Cal. App. 2d 52, 54–55 (1967).

               10.     When changed circumstances “make[] one party’s performance virtually

worthless to the other,” in other words, frustrating the primary purpose of the contract and

rendering it meaningless, a party may be excused of its contractual obligations. See Restatement




                                                  6
        Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 7 of 12




(Second) of Contracts § 256, Comment a (1981); Stratford, 94 Wash. At 126; see also Indus. Dev.

& Land Co. v. Goldschmidt, 56 Cal. App. 507, 509–11 (1922); Chang v. Pacificorp, 157 P.3d 243,

248 (Or. Ct. App. 2007).

                  11.      As noted in the First Day Declaration, in-store dining and entertainment—

including indoor eating, game play, and entertainment experiences—are the core of the Debtors’

business.10      As such, the Government Regulations prohibiting on-premise dining and

entertainment have rendered the purpose of the Debtors’ Leases meaningless. See, e.g., July 13,

2020 New Mexico Public Health Order; June 5, 2020 Michigan Executive Order. No one,

including the Debtors and the Landlords, could have predicted a global pandemic or its

catastrophic effects when entering into the Leases. Accordingly, the Debtors should be excused

from paying rent obligations at the Stores because the Government Regulations have wholly

frustrated the purpose of the Leases. See Restatement (Second) of Contracts § 256.

B.       The Government Regulations Triggered the Leases’ Force Majeure Clauses,
         Excusing the Debtors from Their Rent Obligations

                  12.      CEC’s standard Lease includes a force majeure clause, which provides:

                  The time for performance by Landlord or Tenant of any term,
                  provision or covenant of this Lease shall be deemed extended by any
                  time lost due to delays resulting from acts of God, strikes,
                  unavailability of building materials, civil riots, floods, severe and
                  unusual weather conditions, material or labor restrictions by
                  governmental authority and any other cause not within the
                  reasonable control of Landlord or Tenant, as the case may be.11




10
  See First Day Declaration ¶ 7.
11
  Taken from one of CEC’s “Standard Ground Leases,” Gilroy, CA Lease (“Gilroy Lease”), § 24. Although CEC’s
leases are too numerous to attach and cite individually, many of CEC’s leases contain this exact language. See, e.g.,
CEC’s Greece, NY Lease (§ 24); Bridgewater, NJ Lease (§ 24); Silverdale, WA Lease (§ 24) (collectively, the
“Example Leases,” and with the leases for the stores identified on the Stores Tracker, the “Leases”). True and correct
copies of relevant excerpts from the Example Leases are attached to this Motion as “Exhibit C.”


                                                          7
        Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 8 of 12




                 13.     In response to the COVID-19 crisis, the States’ governors and/or public

health authorities unilaterally shut down dine-in operations for restaurants. For example, on July

13, 2020, California indefinitely closed (for the second time) dine-in-restaurants and family

entertainment centers by prohibiting, state-wide, the provision of dine-in service and family

entertainment services to customers.12 California’s shutdown—similar to the other States—

decimated CEC’s ability to conduct its business as contemplated by the Leases. As previously

noted, however, the Debtors’ allure derives from their unique combination of a dine-in and arcade

gaming experience.13 Indeed, CEC would have no need to lease over 10,000 square feet of

commercial real estate if its business model emphasized takeout dining or delivery; the Leases

therefore anticipate significant in-store experiences. See, e.g., Gilroy Lease (leasing 12,000 square

feet to provide CEC with a “restaurant and entertainment center which may include the serving of

beer and wine, the operation of indoor mechanical and electrical rides, games and other amusement

devices and a merchandise center . . . .”).

                 14.     The unprecedented Government Regulations were unilateral exercises of

States’ authority to control the spread of COVID-19. CEC had no control over the pandemic or

the resulting Government Regulations. Accordingly, and because the force majeure provisions

excuse CEC from performing “any term, provision, or covenant” on account of “acts of God” or

“restrictions by governmental authority and any other cause not within the reasonable control of




12
       See     Statewide      Public   Health     Officer     Order,     July  13,    2020,    available     at
https://www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20Library/COVID-
19/SHO%20Order%20Dimming%20Entire%20State%XXX-XX-XXXX.pdf (last visited, Jul. 29, 2020); see also Tapp,
T., DEADLINE, California Coronavirus Update: Governor Gavin Newsom Orders Indoor Service At All Restaurants,
Bars, Movie Theatres In State To Close Again; No End Date Given, https://deadline.com/2020/07/california-gavin-
newsom-closes-restaurants-indoor-operations-in-state-1202984427/. As noted in the Stores Tracker, there were
previous shutdown orders in California beginning as early as March 19, 2020.
13
   See First Day Declaration, ¶¶ 6-7.


                                                      8
           Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 9 of 12




[the Debtors],” the Debtors are excused from paying rent as of the date of the Governmental

Regulations.14

C.         The Court’s Inherent, Equitable Powers Support Rent Abatement

                    15.        In addition to the reasons stated above, this Court has broad authority to

take necessary and appropriate actions in light of, among other things, the global pandemic. See

Marrama v. Citizens Bank, 549 U.S. 365, 375 (2007) (citing 11 U.S.C. § 105). Such actions are

within the Court’s sound discretion. See, e.g., In re Greene, 103 B.R. 83, 89 (Bankr. S.D. NY

1989).

                    16.        It is undeniable that the Government Regulations, including those in other

states, have been catastrophic for the restaurant industry as a whole. See, e.g., In re Hitz Rest.

Grp., 2020 Bankr. LEXIS 1470, at *5–7 (Bankr. N.D. Ill. June 2, 2020). Because the Government

Regulations prohibit the Debtors from operating their business at the Stores as contemplated in the

Leases and because paying the rent obligations at those Stores would not benefit the Debtors’

estates or their stakeholders, the Debtors respectfully request that the Court excuse the Debtors’

rent payment obligations until such Government Regulations are lifted. Specifically, the Debtors

request that the Court exercise its inherent, equitable powers to excuse rent payments at the Stores

based on the extent and duration of the closures and limitations imposed by the Government

Regulations.

                                                      Notice

                    17.        Notice of this Motion will be provided to (i) the Office of the United States

Trustee for the Southern District of Texas; (ii) the holders of the thirty (30) largest unsecured

claims against the Debtors on a consolidated basis; (iii) any party that has requested notice pursuant



14
     See Gilroy Lease, § 24.


                                                         9
      Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 10 of 12




to Bankruptcy Rule 2002; (iv) the Landlords; and (v) any other party entitled to notice pursuant to

Local Rule 9013-1(d) (collectively, the “Notice Parties”). In light of the nature of the relief

requested herein, the Debtors submit that no other or further notice is necessary.

                                          No Previous Request

               18.     No previous request for the relief sought in this Motion has been made by

the Debtors to this or any other court.



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                                                  10
      Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 11 of 12




               WHEREFORE, the Debtors respectfully request entry of the Proposed Order

granting the relief requested in this Motion and such other and further relief as the Court may deem

just and appropriate.

Dated: August 3, 2020
       Dallas, Texas

                                              Respectfully submitted,
                                                /s/ Paul R. Genender
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      Case 20-33163 Document 487 Filed in TXSB on 08/03/20 Page 12 of 12




                                       Certificate of Service

I hereby certify that on August 3, 2020, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed by
the Debtors’ claims, noticing, and solicitation agent.



                                                         /s/ Alfredo R. Pérez
                                                        Alfredo R. Pérez
